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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION
__________________________________________
                                                )
In re:                                          ) CHAPTER 11
                                                )
THE KRYSTAL COMPANY, et al.,                    ) Case No. 20-61065 (PWB)
                                                )
                                                ) (Jointly Administered)
                              Debtors.          )
________________________________________________)

    NOTICE OF WITHDRAWAL OF OBJECTION OF FLORIDA POWER & LIGHT
      COMPANY, GEORGIA POWER COMPANY, AND ORLANDO UTILITIES
     COMMISSION TO THE DEBTORS’ EMERGENCY MOTION FOR ENTRY OF
  INTERIM AND FINAL ORDERS (I) PROHIBITING UTILITIES FROM ALTERING,
   REFUSING, OR DISCONTINUING SERVICE ON ACCOUNT OF PREPETITION
    INVOICES; (II) DEEMING UTILITIES ADEQUATELY ASSURED OF FUTURE
     PERFORMANCE; (III) ESTABLISHING PROCEDURES FOR DETERMINING
 ADEQUATE ASSURANCE OF PAYMENT; AND (IV) GRANTING RELATED RELIEF

       Florida Power & Light Company, Georgia Power Company and Orlando Utilities

Commission (collectively, the “Utilities”), hereby withdraw the Objection (Docket No. 91) to the

Debtors’ Emergency Motion For Entry of Interim and Final Orders (I) Prohibiting Utilities

From Altering, Refusing, or Discontinuing Service on Account of Prepetition Invoices; (II)

Deeming Utilities Adequately Assured of Future Performance; (III) Establishing Procedures For

Determining Adequate Assurance of Payment, and (IV) Granting Related Relief (Docket No. 14),

pursuant to a settlement between the Utilities and the Debtors.
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Dated: February 10, 2020                BRINSON, ASKEW, BERRY, SEIGLER,
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                                        Commission




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this day of February 10, 2020, I caused a true and correct copy of the

foregoing Notice of Withdrawal to be served upon the following parties via the Court’s ECF System

or by email:

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                                     By:     BRINSON, ASKEW, BERRY, SEIGLER,
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